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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION



IN RE: DIGITEK PRODUCTS LIABILITY LITIGATION


                                                     CIVIL ACTION NO. 2:08-md-01968


THIS DOCUMENT RELATES TO ALL CASES


                                         SCHEDULE A



Middle District of Florida

Elwood Bull, et al. v. Actavis Group hf, et al., (formerly C.A. No. 2:08-396)
S.D. W. Va. C.A. No. 2-08-01002

Eastern District of Louisiana

Ruby I. Thrasher v. Actavis Group hf, et al., (formerly C.A. No. 2:08-3167)
S.D. W. Va. C.A. No. 2-08-01007
Robert M. Becnel, et al. v. Actavis Group hf, et al., (formerly C.A. No. 2:08-3431)
S.D. W. Va. C.A. No. 2-08-01009

Western District of Missouri

Bobby White v. Actavis Totowa, LLC, et al., (formerly C.A. No. 4:08-320)
S.D. W. Va. C.A. No. 2-08-00999

District of New Jersey

Kevin Clark, et al. v. Actavis Group hf, et al., C.A. No. 2:08-2293 (number to be assigned)

Northern District of Ohio

Joseph J. Novak v. Mylan Pharmaceuticals, Inc., et al., (formerly C.A. No. 1:08-1119)
 S.D. W. Va. C.A. No. 2-08-00997
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Lonette Stanley v. Actavis Group hf, et al., (formerly C.A. No. 3:08-1321
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Southern District of Ohio

James Heinzman v. Actavis Group hf, et al., (formerly C.A. No. 2:08-480)
S. D. W. Va. C.A. No. 2-08-01003

Southern District of West Virginia - Parkersburg Division

Supinski v. Actavis Totowa, LLC, et al., C.A. No. 6-08-00899
Linen v. Actavis Totowa, LLC et al., C.A. No.6:08-00914
Wineka v. Mylan Pharmaceuticals, Inc. et al., C.A. No. 6:08-00971
Marsh v. Mylan Pharmaceuticals, Inc. et al., C.A. No.6:08-00972
Wolford v. Mylan Pharmaceuticals, Inc. et al., C.A. No. 6:08-00973
Seroke v. Mylan Pharmaceuticals, Inc. et al., C.A. No. 6:08-00974
